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              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION
IN RE:                           §
                                 §
FORD STEEL, LLC                  §       CASE NO. 20-34405
   Debtor                        §       (Chapter 11
                                 §       JUDGE RODRIGUEZ

                    Emergency Motion for Use of Cash Collateral
*****************************************************************************
      This motion seeks an order that may adversely affect you. If you oppose the
      motion, you should immediately contact the moving party to resolve the
      dispute. If you and the moving party cannot agree, you must file a response
      and send a copy to the moving party. You must file and serve your response
      within 21 days of the date this was served on you. Your response must state
      why the motion should not be granted. If you do not file a timely response,
      the relief may be granted without further notice to you. If you oppose the
      motion and have not reached an agreement, you must attend the hearing.
      Unless the parties agree otherwise, the court may consider evidence at the
      hearing and may decide the motion at the hearing.

       Emergency relief has been requested, if the Court considers the Motion on an
       emergency basis, then you will have less than 21 days to answer, if you object
       to the requested relief or if you believe that the emergency consideration is
       not warranted, you should file an immediate response.

       Represented parties should act through their attorney.

*****************************************************************************

TO THE HONORABLE EDUARDO RODRIGUEZ, UNITED STATES BANKRUPTCY
JUDGE:

       Ford Steel, LLC., Debtor-in-Possession herein files this Emergency Motion for Use of

Cash Collateral pursuant to 11 U.S.C. §§ 361 and 363, and in support thereof would show this

Court as follows:
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                                        I.
                                      Parties

1.     The Debtor may be served through its Managing Member, Herbert C. Jeffries at

       24800 Ford Rd., Porter, Texas 77365, with a copy to its Counsel, Julie M. Koenig,

       815 Walker, Suite 1040, Houston, Texas 77002; Julie.Koenig@cooperscully.com.

2.     First Financial Bank, N.A. f/k/a The Bank & Trust of Bryan/College Station may

       be served through its Chairman and Chief Executive Officer, Scott Dueser, 400

       Pine Street, Abilene, Texas 79601, with a copy to its Counsel, Cheyenne Pate;

       Cheyenne.pate@westwebb.law.

3.     The Internal Revenue Service may be served at the following addresses:

     a. Internal Revenue Service
        1919 Smith Street, Stop 5024HOU
        Houston, Texas 77002;

     b. United States Attorney
        District Counsel
        8701 S. Gessner, Suite 710
        Houston, Texas 77074;

     c. United States Attorney
        910 Travis, Suite 61129
        Houston, Texas 77208;

     d. United States Attorney General
        United States Department of Justice
        Room D327
        10th & Constitution Avenue, N.W.
        Washington, DC 20530; and,

     e. Internal Revenue Service
        P.O. Box 7346
        Philadelphia, PA 19101-7346

        With a courtesy copy to its counsel, Rick Kincheloe at
       Richard.Kincheloe@usdoj.gov.
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4.    Equitable Life & Casualty Insurance Company may be served through its

      Investment Accountant, Ryan J. Bird, 3 Triad Center, Salt Lake City, UT 84180;

      with a courtesy copy to its counsel, Bruce Ruzinsky; bruzinsky@jw.com.

5.    U.S. Small Business Administration (the “SBA”) may be served through its

      General Council and Authorized Agent Emmett Clark, 409 3rd St. SW,

      Washington, DC 20024.


                                       II.
                            Jurisdiction and Venue

6.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334. Venue is

      proper pursuant to 28 U.S. C. §§1408 and 1409.    This is a core proceeding

      pursuant to 28 U.S.C. §157(b)(2)(A) (D), (K), (M) and (O).

                                      III.
                                     Notice

7.    Sufficient and adequate notice of the Cash Collateral Motion has been given to

      prevent immediate and irreparable harm pursuant to Bankruptcy Rule 4001(c);

      Local Bankruptcy Rule 4001(c), and 4002-1(i) , as required by Sections 102, 361

      and 363 of the Bankruptcy Code

                                         IV.
                               History and Background

8.    On September 1, 2020, Ford Steel, LLC (“Ford” or “Debtor”), filed a Voluntary

      Petition under Chapter 11 of Title 11 of the United States Code.

9.    The Debtor is operating as Debtor-in-Possession pursuant to 11 U.S.C. §§1107(a)

      and 1108 and no Trustee has been appointed.
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      10.     This is a second Chapter 11 filing for Ford, it’s previous case was Case No. 17-

              32058 jointly administered under Case No. 17-35027.

      11.     Herbert C. Jeffries purchased the company that became Ford as a going concern in

              2006, and formed it as a limited liability company on August 9, 2006. Ford is an

              AISC certified steel fabricator using state of the art CNC machinery. It fabricates

              platforms, skids, ladders, communication/broadcast towers, custom fabrication for

              customers worldwide.

      12.     Herbert C. Jeffries owns 86% of Ford and Steve Bales owns the remaining 14% of

              that company.


                                                V.
                                         Prepetition Liens


       a.      The Bank & Trust of Bryan/College Station:

      13.     On December 6, 2010, First Financial Bank, N.A. f/k/a The Bank & Trust of

              Bryan/College Station (“Bank”), H.C. Jeffries Tower Company, Inc. (“Tower”),

              and Ford executed a promissory note (the “Bank Note”) evidencing indebtedness

              in the amount of $671,871.12 secured by personal and real property described in

              an Extension and Modification of Promissory Note and Real Estate Lien dated

              June 23, 20111, and recorded as Document No. 2011085662 in the Public Records

              of Montgomery County, Texas. Herbert C. Jeffries (“Jeffries”) executed a

              personal guaranty of the Bank Note.




1
   The indebtedness to Bank actually dates back to 2006 via a loan from Texas Enterprise Bank which was
subsequently purchased by Bank.
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        14.      The Bank filed an amendment to the Texas Enterprise Bank’s UCC-1 Financing

                 Statements2 on July 21, 2010. The Bank also filed its own UCC-1 Financing

                 Statements on September 17, 2010, and January 3, 2011 (collectively the “UCC-1

                 Filings”). The UCC-1 Filings were against both Tower and Ford and constitute a

                 blanket lien on all of the Debtors’ assets. A copy of the UCC-1 Financing

                 Statements is attached hereto as Exhibit “A”.

        15.      On February 28, 2013, the Bank, Tower, Ford and Jeffries entered into a Standstill

                 Agreement whereby the Bank agreed to forego all remedies under the Bank Note

                 in return for payments of $20,000 per month until the earlier of September 1, 2013

                 or the date the Bank gave Tower and Ford a termination notice. Tower and Ford

                 defaulted under the Standstill Agreement. On June 28, 2017, the Bank filed suit in

                 Montgomery County, Texas in a case styled The Bank & Trust of Bryan/College

                 Station v. H.C. Jeffries Tower Company, Inc., Ford Steel, L.L.C. and Herbert C.

                 Jeffries, Case No. 17-001700-CV-85 in the 85th Judicial District Court of Brazos

                 County, Texas to collect on the Bank Note.

        16.      During the pendency of the Debtor’s prior chapter 11 the Debtor made monthly

                 payments of $10,000 to the Bank and post-confirmation made monthly payments

                 in the amount of $8,270.44 effectively from October 15, 2019 through July, 2020.

         b.       The Internal Revenue Service:

        17.      Ford is indebted to the Internal Revenue Service (the “IRS”) for 940 and 941 taxes

                 between 2012 and 2016.

        18.      The IRS filed Notices of Federal Tax Liens against Ford in the total amount of

                 $2,253,756.77 on the following dates:
2
    The Bank is the successor in interest to Texas Enterprise Bank.
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      a.   August 5, 2013, in the amount of $23,521.13;
      b.   July 30,2014, in the amount of $631,830.04;
      c.   August 4, 2014, in the amount of $277,567.94;
      d.   January 12, 2015, in the amount of $194,036.26;
      e.   August 10, 2015, in the amount of $12,266.21;
      f.   November 9, 2015, in the amount of $43,301.66;
      g.   November 20, 2015, in the amount of $133,128.94;
      h.   February 6, 2017, in the amount of $752,895.65;
      i.   February 13, 2017, in the amount of $56,908.01; and,
      j.   July 18, 2017, in the amount of $128,300.93.

19.        Ford has remained current on its indebtedness to the IRS for the year 2017.

20.        Ford has made payments on this indebtedness under its prior confirmed plan in the

           total amount of $528,872.74. These payments were maded effectively from

           October 15, 2019 through July, 2020.

21.        Copies of the IRS Federal Tax Liens against Ford are attached hereto as Exhibit

           “B”.

c.         U.S. Small Business Administration:

22.        On June 14, 2020, the Ford received an Economic Injury Disaster Loan from the

           U.S. Small Business Administration in the amount of $150,000.00 (the “SBA

           Loan”). The SBA Loan’s first payment is not due until June of 2021 with monthly

           payments of $731.00 at 3.75% interest over 30 years. The SBA Loan is secured by

           a blanket lien on Ford’s tangible and intangible personal property assets. On June

           28, 2020, the SBA filed a UCC-1 Financing Statement to secure the SBA Loan. A

           copy of the SBA UCC-1 Financing Statement is attached hereto as Exhibit “C”.

d.         Equitable Life & Casualty Insurance Company:

23.        Equitable Life & Casualty Insurance Company (“Equitable”) holds a first lien on

           the Debtor’s real property located at 24900 Ford Road, Porter, Texas 77365.

           Equitable does not have an interest in cash collateral.
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                                       VI.
                                  Cash Collateral

24.   Ford requires the emergency use of cash collateral in the amount of $694,577.25

      for the next twenty-five (25) days to meet payroll and expenses to continue its

      business operations. The majority of these funds are for payroll, payroll taxes and

      benefits, insurance, sales tax, galvanizing, steel purchases and continuing

      expenses. The anticipated income for this period is $606,126.04 plus cash on

      hand in the amount of $104,026.00. A copy of the anticipated budget for the next

      twenty-five and thirty days is attached hereto as Exhibit “D” and fully incorporated

      herein by reference.

25.   In addition, the Debtor requires the use of cash collateral on a monthly basis. The

      exact amount needed is difficult to calculate based on Ford’s business and will be

      discussed at the Cash Collateral Hearing.

26.   As adequate protection for the use of cash collateral, the liens of Bank, the IRS and

      the SBA shall attach to Cash Collateral, the Pre-Petition Collateral, and any other

      assets of Ford in the same extent, validity, and priority to which they attached

      before the filing of this Bankruptcy Case.

27.   The security interests granted to the Bank, the IRS and the SBA post-petition shall

      not have priority over (a) prior perfected and unavoidable liens and security

      interest in the property of the Debtor’s estate as of the Petition Date other than

      their liens in the Pre-Petition Collateral, provided that (1) such liens and security

      interest are prior to other prepetition liens and security interests, valid, perfected,

      not adequately protected, and non-avoidable in accordance with applicable law; (b)

      the quarterly fees payable to the United States Trustee pursuant to 28 U.S.C.
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              §1930; and (c) a $2,500 per month carve out for fees and expenses of Debtor’s

              Counsel to be held in trust pending further Order of the Court.

       Wherefore, Premises Considered, Ford Steel, LLC, Debtor-in-Possession, prays that

this Court conduct an Emergency Hearing on the Emergency Motion to Use Cash Collateral,

enter an Order for Emergency Use of Cash Collateral for the Period September 1, 2020 through

September 25, 2020, set a final hearing on the Motion, enter an Order for Interim Use of Cash

Collateral after the hearing, and for such other and further relief, at law and in equity, as this

Court deems just.

       Respectfully submitted this 1st day of September, 2020.

                                                       Cooper & Scully, PC.
                                                       By: /s/ Julie M. Koenig
                                                              Julie M. Koenig
                                                              SBA # 14217300
                                                              815 Walker, Suite 1040
                                                              Houston, Texas 77002
                                                              713/236-6800 (Telephone)
                                                              713/236-6880 (Telecopier)
                                                              Julie.Koenig@cooperscully.com
                                                       Attorneys for the Debtor
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                                       Certificate of Service

        I hereby certify that a true and correct copy of the foregoing has been served on all of the
parties listed below and on the attached service list, including parties requesting notice, via either
ECF Notification or by first class mail, proper postage affixed, on the 1st day of September,
2020.

                                                       By: /s/ Julie M. Koenig
                                                              Julie M. Koenig

For Equitable Life & Casualty Insurance Company:

Bruce Ruzinsky bruzinsky@jw.com;
Matt Cavenaugh mcavenaugh@jw.com

For The Bank & Trust of Bryan/College Station:

Cheyenne Pate Cheyenne.Pate@westwebblaw.com;

For the Internal Revenue Service:

Richard Kinchelo Richard.Kincheloe@usdoj.gov ;
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ß«-¬·²ô Ì»¨¿- éèéïìóçðíé                     Þ®§¿²ô ÌÈ ééèðîóîéêê                       Þ®§¿²ô ÌÈ ééèðëóëèìé



Ì®·°´»óÍ Í¬»»´ Í«°°´§ Ý±ò                    Ì«°¿ Ê»²¬«®»-ô×²½                          ËÒ×ÌÛÜ ÍÌßÌÛÍ ÌÎËÍÌÛÛ
ÐòÑò Þ±¨ îïïïç                               îêîïî É¸·-°»®·²¹ Ð·²»- Í¬ò                 ëïë Î«-µ ßª»²«»ô Í¬»ò íëïê
Ø±«-¬±²ô ÌÈ ééîîêóïïïç                       Ó¿¹²±´·¿ô ÌÈ ééíëë                         Ø±«-¬±²ô Ì»¨¿- ééððîóîêðì
                              Case 20-34405 Document 3 Filed in TXSB on 09/01/20 Page 12 of 12
ËÍ Ì®«-¬»»                                             Ë²·¬»¼ Ì±±´ ¿²¼ Ú¿-¬»²»®ô ×²½ò                       Ê¿´³±²¬ Ë²·¬»¼ Ù¿´ª¿²·¦·²¹
Ñºº·½» ±º ¬¸» ËÍ Ì®«-¬»»                               ÐòÑò Þ±¨ íèçëï                                       êïîí Ý«²²·²¹¸¿³ Î±¿¼
ëïë Î«-µ ßª»                                           Ø±«-¬±²ô ÌÈ ééîíèóèçëï                               Ø±«-¬±²ô ÌÈ ééðìïóìéðé
Í¬» íëïê
Ø±«-¬±²ô ÌÈ ééððîóîêðì

È»®±¨ Ý¿°·¬¿´ Í»®ª·½»-ô ÔÔÝ                            Ö«´·» Ó·¬½¸»´´ Õ±»²·¹
ÐòÑò Þ±¨ éìðë                                          Ý±±°»® ú Í½«´´§ô ÐÝ
Ð¿-¿¼»²¿ô Ýß çïïðçóéìðë                                èïë É¿´µ»®ô Í«·¬» ïðìð
                                                       Ø±«-¬±²ô ÌÈ ééððîóëééê




                      Ì¸» °®»º»®®»¼ ³¿·´·²¹ ¿¼¼®»-- ø°÷ ¿¾±ª» ¸¿- ¾»»² -«¾-¬·¬«¬»¼ º±® ¬¸» º±´´±©·²¹ »²¬·¬§ñ»²¬·¬·»- ¿- -± -°»½·º·»¼
                      ¾§ -¿·¼ »²¬·¬§ñ»²¬·¬·»- ·² ¿ Ò±¬·½» ±º ß¼¼®»-- º·´»¼ °«®-«¿²¬ ¬± ïï ËòÍòÝò íìîøº÷ ¿²¼ Ú»¼òÎòÞ¿²µòÐò îððî ø¹÷øì÷ò


×ÎÍ                                                    ø¼÷×²¬»®²¿´ Î»ª»²«» Í»®ª·½»                          ø¼÷×²¬»®²¿´ Î»ª»²«» Í»®ª·½»
ÐÑ ÞÑÈ ïìçðìé                                          ïçïç Í³·¬¸ Í¬ò                                       ÍÌÑÐ êêçî ßËÍÝ
ßËÍÌ×Òô ÌÈ éèéïì                                       Í¬±° ëðîì ØÑË                                        ß«-¬·²ô ÌÈ éííðïóððíð
                                                       Ø±«-¬±²ô ÌÈ ééððî


Û²¼ ±º Ô¿¾»´ Ó¿¬®·¨
Ó¿·´¿¾´» ®»½·°·»²¬-      êì
Þ§°¿--»¼ ®»½·°·»²¬-       ð
Ì±¬¿´                    êì
